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                                                  UNITED STATES DISTRICT COURT
                                                     DISTRICT OF CONNECTICUT
                                             ________________________________________

                      TRUSTEES OF THE NEW ENGLAND             :
                      CARPENTERS HEALTH BENEFITS FUND,        :
                      TRUSTEES OF THE NEW ENGLAND             :
                      CARPENTERS PENSION FUND and             :
                      TRUSTEES OF THE SOUTHERN NEW ENGLAND:
                      CARPENTERS ANNUITY FUND                 :
                                                              :
                                  Plaintiffs                  :                   Civil Action No.
                                                              :
                      V.                                      :                         August 6,
                                                                                  Date: August 6, 2018
                                                              :
                      NATIONAL SHORING, LLC                   :
                      PETER H. BOVE                           :
                                                              :
                                  Defendants                  :
                      _______________________________________

                                                                COMPLAINT

                             Plaintiffs, by their attorneys, Gould Killian LLP, complaining of the Defendants, allege as

                      follows:
                                                                  PARTIES

                             1.
                             1.     Plaintiffs are the duly appointed Trustees of the New England Carpenters

                      Pension Fund, the New England Carpenters Health Benefits Fund, and the Southern New

                      England Carpenters Annuity Fund (collectively referred to herein as "Funds"). The Connecticut
 Gould Killian LLP
280 Trumbull Street
                             2.
                             2.     The Funds are "employee benefit plans" within the meaning of Section 3(3) of
     21st Floor
Hartford CT 06103                                                                        “ERISA”), 29 U.S.C.
                      The Employment Retirement Income Security Act of 1974 (hereinafter "ERISA"),
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240
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                      §1002(3),and
                      §1002(3), andare
                                    are"multiemployer
                                        "multiemployer plans" within
                                                              within the
                                                                      the meaning
                                                                          meaningof
                                                                                  ofSection
                                                                                    Section3(37)
                                                                                            3(37) of
                                                                                                  of ERISA,
                                                                                                     ERISA, 29

                      U.S.C. §1002(37).

                             3.      The defendant, NATIONAL SHORING,
                                                             SHORING,LLC
                                                                      LLC(hereinafter
                                                                          (hereinafter"National")
                                                                                       "National") is a

                      Connecticut limited
                                  limited liability
                                          liabilitycompany
                                                    company maintaining
                                                            maintainingoffices
                                                                        officesand
                                                                                andconducting
                                                                                    conductingbusiness
                                                                                               businessatat1110-1112
                                                                                                            1110-1112

                                                                 Nationalisisan
                      Hartford Turnpike, Waterford, Connecticut. National     an"employer
                                                                                 “employer in
                                                                                            in an
                                                                                               an industry
                                                                                                   industry affecting
                                                                                                            affecting

                      commerce” pursuant
                      commerce" pursuanttotoERISA,
                                             ERISA,29
                                                    29U.S.C.
                                                       U.S.C.§1002(5),
                                                              §1002(5), (9),
                                                                         (9), (11),
                                                                              (11), (12) and (14).

                             4.      The defendant, PETER
                                                    PETER H.
                                                          H.BOVE
                                                             BOVEisisan
                                                                      anindividual
                                                                         individual who
                                                                                    who resides at 45 Broad Street,

                      Stonington,
                      Stonington, Connecticut.
                                  Connecticut. Mr. Bove is the owner and Sole Member of National, and makes all

                      final decisions
                            decisions over
                                      over payments
                                           payments made
                                                    made by
                                                         by the
                                                             the company. Upon information
                                                                 company. Upon  information and belief, Mr. Bove,

                      controls every aspect of the business.
                      controls

                                                        JURISDICTION AND VENUE

                             5.      This is an action brought
                                                       brought by
                                                               by the
                                                                   the trustees
                                                                        trustees of
                                                                                 of the
                                                                                     the New
                                                                                         New England Carpenters Pension

                      Fund, the New England Carpenters Health Benefits Fund, and the Southern New England

                      Carpenters Annuity
                                 Annuity Fund (collectively referred to herein as "Funds") to enforce the terms of the

                                    provisions of
                      Funds and the provisions of Section
                                                  Section 515
                                                          515 of the Employee Retirement Income Security Act of

                      1974, as amended ("ERISA"), 29 U.S.C.
                                                     U.S.C. §1145.
                                                            §1145.This
                                                                   Thisaction
                                                                        actionarises
                                                                               arisesunder
                                                                                      underthe
                                                                                            the laws
                                                                                                 laws of
                                                                                                      of the
                                                                                                         the United

                      States, specifically
                              specificallySection
                                           Section502(a)(3)
                                                   502(a)(3)of
                                                             ofERISA,
                                                                ERISA,29
                                                                       29U.S.C.
                                                                         U.S.C. §1132(a)(3).  Pursuant to
                                                                                §1132(a)(3). Pursuant   to Section
                                                                                                           Section
 Gould Killian LLP
280 Trumbull Street
                      502(e)(1) of
                      502(e)(1) of ERISA,
                                   ERISA,29
                                          29U.S.C.
                                             U.S.C.§1132(e)(1),
                                                    §1132(e)(1),  jurisdictionisistherefore
                                                                jurisdiction       thereforeconferred
                                                                                             conferred on
                                                                                                       on this
                                                                                                           this Court.
                                                                                                                Court.
     21st Floor
Hartford CT 06103            6.      The Pension Fund is
                                                      is created, maintained
                                                                  maintained and regulated
                                                                                 regulated by the terms of a certain
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240     Declaration of Trust
                                     Trust originally
                                           originallydated
                                                      datedFebruary
                                                           February25,
                                                                    25, 1968,    amended, which
                                                                        1968, as amended, which Declaration of Trust

                      is presently
                         presently in
                                    in effect. The Annuity
                                       effect. The Annuity Fund is created, maintained and regulated by the terms of a

                                                   originally dated
                      certain Declaration of Trust originally dated April
                                                                    April 1,
                                                                          1, 1979, which
                                                                                   which Declaration of Trust is presently
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                      in effect. The
                                 The Health
                                     Health Fund
                                            Fund is
                                                  is created,
                                                     created, maintained
                                                              maintained and
                                                                         and regulated
                                                                             regulated by the terms of a certain

                      Declaration of Trust dated September 1, 1969, which Declaration is presently in effect.

                             7.
                             7.      The Connecticut operations
                                                     operations of
                                                                of the
                                                                   the Funds
                                                                       Funds are
                                                                             are administered
                                                                                 administered in
                                                                                               inConnecticut.
                                                                                                 Connecticut. The

                      defendant is located in Connecticut,
                                              Connecticut, and
                                                           and the
                                                               the breach
                                                                   breach occurred
                                                                          occurred in
                                                                                    in Connecticut.
                                                                                       Connecticut. Venue is

                      conferred on this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2), which

                      provides:

                             (2)     Where an action under this title is brought in a district court of the United States,

                      it may be brought in the district where the plan is administered, where the breach took place, or

                      where a defendant resides or may be found, and process may be served in any other district

                      where a defendant resides or may be found.

                             8.
                             8.      National performs contracting or subcontracting work in the carpentry industry in

                      the State of Connecticut and employs or has employed members of the United Brotherhood of

                      Carpenters and Joiners of America and its affiliated local unions ("Union"), or nonmembers

                      working in covered employment.

                                                             CAUSE OF ACTION

                                – Breach
                      COUNT ONE — Breachof
                                         ofCollective
                                           CollectiveBargaining
                                                      Bargaining Agreement
                                                                 Agreement and
                                                                           and Failure
                                                                               Failure to make benefit

                      contributions pursuant to ERISA
 Gould Killian LLP
280 Trumbull Street
                             9.
                             9.      National, acting by and through its authorized agent or officer, executed a
     21st Floor
Hartford CT 06103     collective bargaining agreement ("Agreement") with the New England Regional Council of
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240     Carpenters.

                             10.
                             10.     Pursuant to the Agreement, National agreed to make certain payments to the

                      Funds maintained on behalf of employees performing carpentry work in covered employment.
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                                11.
                                11.             agreed to
                                       National agreed to be
                                                          be bound
                                                             bound by the foregoing
                                                                          foregoing document and to make certain

                      contributions to
                      contributions to the Funds.

                                12.
                                12.              terms of
                                       Under the terms of said contract and of the Declarations of Trust adopted by the

                      Boards of Trustees of the Funds, National is also liable for a reasonable rate of
                                                                                                     of interest on said

                      delinquent contributions until
                                               until paid,
                                                     paid, plus all costs of collection,
                                                                             collection, including
                                                                                         including audit
                                                                                                   audit fees,
                                                                                                         fees, attorney's

                      fees and liquidated damages in the amount of twenty (20%) percent
                                                                                percent of
                                                                                        of the delinquent

                      contributions.

                                13.
                                13.    On or about April
                                                   April 30,
                                                         30, 2018, National was
                                                             2018, National was delinquent
                                                                                delinquent to the Funds in the amount

                      of $66,626.38 pursuant to an audit of the time
                         $66,626.38 pursuant                    time period
                                                                     periodFebruary
                                                                            February1, 2014 through
                                                                                    1, 2014  through October 27,

                      2017. The
                      2017.  TheTrustees
                                 Trusteesagreed
                                          agreedtotorefrain
                                                     refrainfrom
                                                              frombringing
                                                                   bringinglegal
                                                                            legalaction
                                                                                  action in
                                                                                          in return
                                                                                              return for
                                                                                                     for payment of the

                      contributions pursuant
                      contributions pursuant to
                                              to aa written
                                                    written agreement.
                                                            agreement.

                                14.
                                14.                                        without making one payment.
                                       National defaulted on the agreement without

                                15.
                                15.    Pursuant to a revision to the audit
                                                                     audit referred
                                                                           referred to
                                                                                    to in
                                                                                        in paragraph
                                                                                           paragraph 13,
                                                                                                     13, the audited

                      amount owed was reduced to
                                              to $65,503.84  for the
                                                 $65,503.84 for  the time
                                                                     time period of February 1, 2014
                                                                                                2014 through
                                                                                                      through

                      October
                      October 27,
                              27, 2017.

                                16.
                                16.          upon reports
                                       Based upon reports of hours worked in covered employment submitted by

                      National, an additional
                                   additional $4,352.35
                                              $4,352.35 is due through
                                                               throughMay
                                                                       May 27,
                                                                           27, 2018.
                                                                               2018.
 Gould Killian LLP
280 Trumbull Street
                                17.
                                17.               National continues
                                       As long as National continues to employ workers performing covered
     21st Floor
Hartford CT 06103                                             Funds will
                      employment, the delinquency owed to the Funds will increase during the pendency of this
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240     action.

                                18.
                                18.        demand for
                                       Due demand for the foregoing amount has been made
                                                                                    made upon
                                                                                         upon National
                                                                                              National by
                                                                                                       by counsel

                      for the Funds, but to date the foregoing contributions,
                                                               contributions, interest
                                                                               interest and
                                                                                        and liquidated
                                                                                             liquidated damages
                                                                                                        damages due and

                      owing to the Funds have not been paid.
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                             19.
                             19.     As a result of National's failure to meet its obligations under the terms of the

                      collective bargaining agreement, Plaintiffs have been required to employ counsel in order to

                      enforce such obligations. Plaintiffs
                                                Plaintiffs have
                                                           have brought
                                                                brought this
                                                                        this action
                                                                             action in faithful performance of the

                      fiduciary duties imposed upon them under Section 404(a)(1) of ERISA, 29 U.S.C. §1104(a)(1).

                      Plaintiffs have been, and are, incurring attorney's fees as a direct result of NATIONAL’s
                                                                                                     NATIONAL's failure

                      to make contributions in accordance with the terms and conditions of the pertinent collective

                      bargaining agreement.

                      COUNT TWO – Pierce
                            TWO — Pierce the
                                          the corporate
                                              corporate veil

                             20.
                             20.     The plaintiffs reallege paragraphs nine through nineteen of Count One above as

                      if more fully set forth herein as paragraph twenty through thirty of this Count Two.

                             31.
                             31.     At all times relevant hereto, the defendant, Peter H. Bove, was the owner and

                      sole member of National.

                             32.
                             32.     Upon information and belief, at all times relevant hereto, the defendant, National

                      was the mere instrumentality of Peter H. Bove, in that Mr. Bove exercised complete control and

                      domination of the finances, policies and business practices of National, which control he

                      exercised to prevent the payment of contributions justly owed to the funds.

                      COUNT THREE – Breach
                            THREE — Breach of
                                           of Fiduciary
                                              Fiduciary dutynine
                                                        dutvnine
 Gould Killian LLP
280 Trumbull Street
                             33.
                             33.     The plaintiffs reallege paragraphs nine through nineteen of Count One above as
     21st Floor
Hartford CT 06103     if more fully set forth herein as paragraph thirty-three through forty-two of this Count Two.
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240            43.     The delinquent contributions owed to the Funds are Trust assets pursuant to the

                      Declarations of Trust referred to above.
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                             44.       Peter H.
                                       Peter H. Bove
                                                Boveexercised
                                                     exerciseddiscretionary
                                                               discretionaryauthority
                                                                            authority or
                                                                                      or discretionary
                                                                                         discretionary control over the

                      management or disposition
                      management or disposition of
                                                of Fund assets, in that he controlled
                                                                           controlled the payment or nonpayment of

                          benefit contributions.
                      the benefit contributions.

                             45.             H. Bove
                                       Peter H. Bove controlled
                                                     controlled how the funds paid to the company
                                                                                          company were used, and

                                        for purposes other than
                      used Trust assets for                than payment
                                                                payment of
                                                                        of benefit
                                                                           benefit contributions.
                                                                                   contributions.

                             46.       Peter H. Bove is a fiduciary
                                                          fiduciaryunder
                                                                    underERISA,
                                                                          ERISA,29  U.S.C.A. §1002(21)(A).
                                                                                 29 U.S.C.A. §1002(21)(A).

                             47.       Peter H.
                                       Peter H. Bove
                                                Boveisispersonally
                                                        personally liable
                                                                    liable for
                                                                            for the
                                                                                 the delinquent
                                                                                     delinquent contributions
                                                                                                contributions pursuant to

                      ERISA §29 U.S.C.A. 1109(a).

                             WHEREFORE,Plaintiffs
                             WHEREFORE, Plaintiffsdemand
                                                  demandjudgment
                                                         judgment against
                                                                  against the
                                                                           the Defendants
                                                                               Defendants as
                                                                                          as follows:
                                                                                              follows:

                             1.        For aa money
                                              money judgment
                                                     judgment consisting
                                                              consisting of
                                                                         of the
                                                                            the following:
                                                                                 following:

                                           Forunpaid
                                       a. For  unpaid contributions
                                                      contributions due
                                                                    due in
                                                                         in the
                                                                             the amount
                                                                                 amountof
                                                                                        of$69,856.19
                                                                                           $69,856.19 (ERISA Section
                                                                                                             Section

                      502(g)(2)(A));

                                       b.              assessed on
                                       b. For interest assessed on the
                                                                   the delinquent
                                                                       delinquent contributions
                                                                                  contributions calculated from the date

                      due through the date of judgement at the rate of 12
                                                                       12 percent
                                                                          percent per
                                                                                  per annum
                                                                                      annum pursuant
                                                                                            pursuant to contract and

                      ERISA Section 502(g)(2)(B));

                                       c. For liquidated damages assessed
                                       c.                        assessed on
                                                                          on the
                                                                              the delinquent
                                                                                  delinquent contributions
                                                                                             contributions at the rate

                      of 20 percent pursuant
                                    pursuant to
                                             to contract
                                                contractand
                                                         andERISA
                                                            ERISA Section
                                                                  Section 502(g)(2)(C);
                                                                          502(g)(2)(C);
 Gould Killian LLP
280 Trumbull Street          2.            reasonable attorneys'
                                       For reasonable attorneys' fees
                                                                 fees and
                                                                      and costs
                                                                          costs of
                                                                                of this case pursuant
                                                                                             pursuant to contract and
     21st Floor
Hartford CT 06103
                      ERISA Section 503(g)(2)(D);
  (860) 278-1270
Fax (860) 244-9290
  Juris No. 24240            3.        That the Defendants
                                                Defendants be
                                                           beordered
                                                              orderedto
                                                                      tocomply
                                                                         complywith
                                                                               with its
                                                                                     its obligations
                                                                                         obligations to report and to

                      contribute to the Funds during the pendency
                                                         pendency of
                                                                  of this
                                                                     this action;

                             4.        That the Defendants
                                                Defendants be
                                                           be ordered
                                                              orderedto
                                                                      tocomply
                                                                        comply with
                                                                               with its
                                                                                     its obligations to allow a Field

                      Audit of payroll records by the Funds during the pendency
                                                                       pendency of
                                                                                of this
                                                                                   this action;
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                             5.      Such other legal or equitable relief as this
                                                                             this Court deems
                                                                                        deems appropriate,
                                                                                              appropriate, including
                                                                                                            including

                                       contributions and/or
                      judgment for any contributions and/or interest
                                                            interest thereon that may accrue subsequent to
                                                                                                        to the
                                                                                                           the filing
                                                                                                               filing

                      of this complaint,
                              complaint, as
                                         as well
                                            well as
                                                 as any resulting
                                                        resulting penalties
                                                                  penalties thereon
                                                                            thereon pursuant
                                                                                    pursuant to
                                                                                              to ERISA.
                                                                                                 ERISA.
                                                            th
                      Dated at Hartford, Connecticut
                                         Connecticut this
                                                      this 6
                                                           6th day of August,
                                                                      August, 2018.
                                                                              2018.

                                                                           PLAINTIFFS


                                                                           By /s/Nancy Gould
                                                                           Nancy Gould
                                                                           Fed. Bar No. CT 10567
                                                                           Gould Killian LLP
                                                                           280 Trumbull
                                                                           280 Trumbull Street, 21st floor
                                                                                                     floor
                                                                           Hartford, CT
                                                                           Hartford, CT 06103
                                                                                         06103
                                                                           Phone: (860)278-1270
                                                                           Phone:  (860)278-1270
                                                                           Fax: (860)244-9290
                                                                           Email: ngould@gouldkillian.com




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  Juris No. 24240
